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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

 In re:
                                                                     Chapter 11
                                                                     Case No. 16-40120-705

 ARCH COAL, INC., et al.,                                            (Jointly Administered)


 Debtors. 1                                                          Related to Docket No. 789


  ORDER EXTENDING DEBTORS’ EXCLUSIVE PERIODS WITHIN WHICH TO FILE
        A PLAN OF REORGANIZATION AND SOLICIT VOTES THEREON

          On May 10, 2016, Arch Coal, Inc. and its subsidiaries that are debtors and debtors in

 possession in these cases (collectively, the “Debtors”) filed a motion (the “Motion”) 2 for an

 order, pursuant to section 1121(d) of the Bankruptcy Code, seeking entry of an order extending

 (i) the exclusive period for the Debtors to file a chapter 11 plan (the “Exclusive Filing Period”),

 from May 10, 2016 to September 7, 2016 and (ii) the exclusive period for the Debtors to solicit

 acceptances thereof (the “Exclusive Solicitation Period” and, together with the Exclusive Filing

 Period, the “Debtors’ Exclusive Periods”), from July 9, 2016 to November 6, 2016. This Court

 having jurisdiction to consider the matters raised in the Motion pursuant to 28 U.S.C. § 1334;

 and it having authority to hear the matters raised in the Motion pursuant to 28 U.S.C. § 157; and

 it having venue pursuant to 28 U.S.C. §§ 1408 and 1409; and the Debtors having represented that

 they provided proper and sufficient notice; and the Court having reviewed the Motion; and the

 relief requested in the Motion being in the best interests of the Debtors, their estates and their


          1
           The Debtors are listed on Schedule 1 attached to the Motion. The employer tax identification numbers
 and addresses for each of the Debtors are set forth in the Debtors’ chapter 11 petitions.
          2
           Each capitalized term used herein but not otherwise defined herein shall have the meaning ascribed to it in
 the Motion.
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 creditors; and the Court having determined that there exists the required basis for the relief

 granted herein; and upon all of the proceedings had before the Court and after due deliberation;

 the Court ORDERS that:

         1.      The relief requested in the Motion is hereby GRANTED as set forth herein.

         2.      The Debtors’ Exclusive Filing Period is hereby extended through and including

 September 7, 2016.

         3.      The Debtors’ Exclusive Solicitation Period is hereby extended from July 9, 2016

 through and including November 6, 2016.

         4.      The relief requested herein is without prejudice to the Debtors’ right to seek

 additional extensions of the Debtors’ Exclusive Periods with respect to one or more of the

 Debtors.

         5.      Notwithstanding any Bankruptcy Rule (including, but not limited to, Bankruptcy

 Rule 6004(h)) or Local Rule of the Bankruptcy Court for the Eastern District of Missouri that

 might otherwise delay the effectiveness of this Order, the terms and conditions of this Order shall

 be immediately effective and enforceable upon its entry.

         6.      The Debtors have represented that proper, timely, adequate and sufficient notice

 of the Motion has been provided in accordance with the Bankruptcy Code, the Federal Rules of

 Bankruptcy Procedure and the Local Rules of the Bankruptcy Court for the Eastern District of

 Missouri.

         7.      No later than 24 hours after the date of this Order, the Debtors shall serve a copy

 of this Order on the Notice Parties and, no later than 24 hours after such service, the Debtors

 shall file a certificate of service with the Court.


 DATED: July 5, 2016                                          CHARLES E. RENDLEN, III
 St. Louis, Missouri 63102                                      U.S. Bankruptcy Judge
 mtc

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